Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 1 of 19 Pageid#:
                                  17583



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

  ELIZABETH SINES, et al.,

                      Plaintiffs,                         No. 3:17-cv-00072-NKM

     v.                                                   JURY TRIAL DEMANDED

  JASON KESSLER, et al.,

                      Defendants.


          DEFENDANT MATTHEW HEIMBACH’S RESPONSE TO PLAINTIFFS’
             SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF
                 THEIR MOTION FOR SANCTIONS AGAINST HIM

          Defendant Matthew Heimbach (“Matthew”) respectfully submits this Response to

 Plaintiffs’ Supplemental Memorandum of Law in support of their Motion for Sanctions against

 him (ECF No. 1006).

                                    PRELIMINARY STATEMENT

          Plaintiffs’ litigation strategy in this case boils down to the following:

          1.     Make factually absurd, outlandish conspiracy allegations for which Plaintiffs
                 know absolutely no evidence ever existed;

          2.     Use their overwhelming resource differential to bury Defendants in onerous
                 discovery; and

          3.     When many of those Defendants (some of whom have no counsel) inevitably fall
                 short of the demands of Plaintiffs’ horde of high-powered, infinitely-monied
                 attorneys, finagle the Court into giving adverse inferences to the jury on all of the
                 allegations Plaintiffs never would have been able to otherwise support.

          This Court should not allow itself to be conned by Plaintiffs’ odious brand of

 bootstrapping. Matthew’s overall shortcomings in discovery may warrant the imposition of
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 2 of 19 Pageid#:
                                  17584



 monetary sanctions, such as attorneys’ fees and costs, but not the kind of drastic evidentiary

 sanctions that would license Plaintiffs to affirmatively mislead the jury.1

         The reality here is that Plaintiffs have already received voluminous discovery from

 Matthew or his co-Defendants, including from each of Matthew’s primary sources of

 communication concerning the Unite the Right rally: Discord, Gmail/Google Docs, and the

 Traditionalist Worker Party (“TradWorker”) e-mail/ticket system. Upon subjecting Plaintiffs’

 numerous discovery-related grievances to close scrutiny and analysis, what becomes apparent is

 that all of the allegedly “critical” ESI about which Plaintiffs are complaining would likely be

 needlessly cumulative, duplicative of evidence already produced by other Defendants, or

 unlikely to realistically be material to Plaintiffs’ case.

                                             ARGUMENT

 I.      Since This Court’s Previous Order Sanctioning Him, Matthew’s Attempts, As a Pro
         Se Litigant with No Legal Background, to Meet His Discovery Obligations Have Not
         Been in Bad Faith.

         A.      Matthew’s Conduct in Discovery Has Dramatically Improved.

         Initially, Matthew was uncooperative in discovery; this is not disputed. In the face of the

 stark imbalance of the overwhelming amount of power and resources at Plaintiffs’ disposal

 (indeed, one would be hard-pressed to recall another civil litigation with a more unseemly and

 patent bullying dynamic), Matthew stopped participating in discovery altogether. Fortunately, the

 Court’s threats of holding him in contempt ultimately got through to Matthew, because he has


 1       As counsel for another Defendant in this litigation eloquently stated, “Plaintiffs seek a
 spoliation instruction that directly contradicts information they have obtained in hundreds of
 thousands of documents from a myriad of sources. This constitutes an attempt by Plaintiff to
 avoid their burden of proof entirely and potentially to mislead the jury as to all Defendants.”
 (ECF No. 1022 at 2.)


                                                   -2-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 3 of 19 Pageid#:
                                  17585



 since submitted himself fully to the Court’s jurisdiction and authority, making comparatively

 significant efforts to comply with his discovery obligations and the Court’s orders. Even if

 Matthew’s conduct was in bad faith prior to the Court’s sanctioning him, since then, he has at

 least conducted himself in better faith. And while that may not be perfect, it is still not bad faith

 — which is required for the most drastic sanctions, such as adverse inferences, to be granted.

 See, e.g., Sampson v. City of Cambridge, 251 F.R.D. 172, 181 (D. Md. 2008) (citing Hodge v.

 Wal-Mart Stores, Inc., 360 F.3d 446, 450-51 (4th Cir. 2004)).

        B.      Matthew’s Use of a Durable Plastic Tub to Store Electronic Devices
                with Potentially Relevant ESI Was Reasonable in His Individual
                Circumstances.

        Plaintiffs cannot seem to bring themselves to stop bleating about the manner in which

 Matthew stored his devices to preserve them for litigation — specifically, that he used a durable

 plastic tub he purchased from Walmart.2 During Matthew’s deposition, Plaintiffs’ counsel seemed

 to believe that wasn’t even close to sufficient, asking questions like this:




 (Heimbach Dep. 317:14-24.)



 2       Sterilite® is one company who makes these; everyone knows what they look like. They
 are actually very durable. Maybe not exactly fireproof, but still very durable nonetheless.


                                                  -3-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 4 of 19 Pageid#:
                                  17586



        Counsel’s line of questioning could not possibly be more out of touch with the lives of

 the working class — as if, for example, Matthew — a nonlawyer with an income at or below the

 poverty line and two children to feed — was supposed to have immediately isolated all relevant

 ESI in his trailer park’s Secure Document Repository Trailer, then contacted his private banker to

 ready the funds needed to hire an e-discovery forensic device imaging service.

        In fact, Matthew put the devices all together in a durable plastic tub in which he kept

 things that he considered to be important. (Note to Plaintiffs’ counsel: This is actually a very

 standard protocol amongst the hoi polloi for staying organized.) Regardless of whether or not it

 had a lid, when it comes to trailer folk and ESI security/preservation, a heavy-duty plastic tub is

 really about as good as it’s ever going to get.3

        Plaintiffs assert that what happened to Matthew in 2019 — that his ex-wife basically

 threw out the durable plastic tub (when she basically threw out all of Matthew’s possessions) is

 “simply not credible.” First of all, this kind of situation is actually rather common among jilted

 lovers, particularly those of the lower income brackets — as a mere cursory search of the internet

 reveals. See, e.g., Susan Farley, Man arrested for burning ex-girlfriend’s clothing, FOX BANGOR

 (Aug. 1, 2019), https://www.foxbangor.com/news/item/man-arrested-for-burning-ex-girlfriends-

 clothing/ (burned ex’s clothes, shoes, and backpack); Ken Sturtz, Ithaca police: Ex-girlfriend

 pours bleach on man’s flat-screen TV, clothes, SYRACUSE.COM (Mar. 22, 2019), https://


 3       Plaintiffs’ counsel appears to consider the plastic tub problematic as a method of storage
 because it was “unlabeled” and “uncovered.” One suspects that if it had been labeled, counsel
 would have insisted that it was “too conspicuous,” and thus insecure. As for the plastic tub not
 being covered, it is difficult to imagine how a cover would have saved the contents from being
 (unlawfully) discarded by an angry spouse during a period of time (over a month) in which
 Matthew had no access whatsoever to the marital residence — having been prohibited by court
 order from being on the premises or anywhere nearby.


                                                    -4-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 5 of 19 Pageid#:
                                  17587



 www.syracuse.com/crime/2015/12/cops_ithaca_woman_pours_bleach_on_ex-

 lovers_clothes_flat_screen_tv.html (self-explanatory); WORLD STAR HIP HOP, https://

 worldstarhiphop.com/videos/video.php?v=wshh905Kga7MDh4Grb9K (June 16, 2021)

 (destroyed spouse’s clothes and personal items, and damaged his car); IE Staff, Teen Allegedly

 Sets Fire to Car She Thought Was Her Ex-Boyfriend’s – It Wasn’t, INSIDE EDITION (Sept. 6,

 2016), https://www.insideedition.com/18478-teen-allegedly-sets-fire-to-car-she-thought-was-her-

 ex-boyfriends-it-wasnt (yes, it still counts). This was the same kind of ugly, thoughtless behavior

 (though perhaps less violent), just from Matthew’s (now ex-) wife.

        Also, she subsequently signed a notarized affidavit explaining the situation.4 See Exhibit

 2.

        Plaintiffs insist that “At best, Heimbach was grossly negligent.” (Pl. Supp. Mem. at 17.)

 The undersigned agrees with Plaintiffs’ “grossly negligent” characterization. However, it is for

 this very reason that Matthew’s conduct was not in bad faith, which is why an adverse inference

 should not be granted.

        “Adverse-inference instructions were developed on the premise that a party’s
        intentional loss or destruction of evidence to prevent its use in litigation gives rise
        to a reasonable inference that the evidence was unfavorable to the party
        responsible for loss or destruction of the evidence. Negligent or even grossly
        negligent behavior does not logically support that inference. Information lost
        through negligence may have been favorable to either party, including the party
        that lost it, and inferring that it was unfavorable to that party may tip the balance
        at trial in ways the lost information never would have. The better rule for the
        negligent or grossly negligent loss of electronically stored information is to
        preserve a broad range of measures to cure prejudice caused by its loss, but to
        limit the most severe measures to instances of intentional loss or destruction.”



 4      The undersigned is informed that Plaintiffs’ counsel is already aware of this document’s
 existence.


                                                 -5-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 6 of 19 Pageid#:
                                  17588



 Fed. R. Civ. P. 37 advisory committee’s note to 2015 amendment.

        Plaintiffs’ counsel cites O’Berry v. Turner, but it is inapposite. In O’Berry, plaintiffs

 asked defendants for very specific documents in their spoliation letter to the risk management

 division of defendants’ trucking company, Archer Daniels Midland Company (a multibillion-

 dollar corporation). By contrast, Plaintiffs asked Matthew to produce generally relevant

 information, without making any extremely specific request as in O’Berry.

        Further, the information requested by the plaintiffs in O’Berry is plainly obvious as to its

 substantial probative value in a case involving a vehicle accident with one of the defendant’s

 truck drivers. Unlike the requests for production from Matthew that are at issue here, the

 requested driver’s log in O’Berry is centrally relevant.

        Also, multibillion-dollar corporation involving professionals, not a trailer park

 involving…well…non-professionals.

        B.      Plaintiffs Did Not Fully Avail Themselves of the Court’s Previous Remedies
                for Matthew’s Discovery Deficiencies; Therefore, They Should Not Be
                Rewarded with the Most Drastic of Sanctions.

        Plaintiffs admit that the Court ordered Matthew to sit for an additional deposition

 “devoted exclusively to” all of these discovery-related issues, (Pl. Supp. Mem. at 7 (quoting ECF

 No. 508 at 4), meaning that Plaintiffs would be permitted to conduct a total of two full

 depositions of Matthew. Instead, Plaintiffs took only one deposition of Matthew, spending most

 of their time on these discovery-related issues, and comparatively little time on factual matters

 that actually concern the allegations of their Complaint. Having failed to first avail themselves

 fully of the less drastic sanctions imposed by the Court, (see Pl. Supp. Mem. at 15 (claiming that

 “deposing [Matthew] again would be fruitless”)), they now ask it to skip directly to the most



                                                 -6-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 7 of 19 Pageid#:
                                  17589



 drastic ones. This appears to be a pattern of behavior by Plaintiffs. (See, e.g., ECF No. 1022 at

 4-5 (noting that Plaintiffs are seeking adverse inferences without having first availed themselves

 of opportunity to notice and conduct in-person deposition).) It seems inequitable.

 II.    Adverse Inferences Are an Extreme Sanction That Would Be Manifestly Unjust
        Here.

        Plaintiffs have not realistically been prejudiced by Matthew’s shortcomings in discovery.

 Plaintiffs allege they have been prejudiced, and their case damaged, by Matthew’s failure to

 produce access to certain physical electronic devices, hard copy documents, and social media

 and other online accounts.

        A.      Social Media and Online Accounts Generally

        While Plaintiffs listed numerous social media and online accounts that they claimed were

 relevant to the litigation and allegedly held “critical” ESI, upon closer inspection, their assertions

 seem melodramatic and nebulous, amounting to little more than stagecraft. In attempting to

 create the impression that there were dozens of instances where Matthew did not comply with

 discovery, most of these sources would realistically contain no evidence useful to Plaintiffs, or

 would, at most, yield evidence that is needlessly cumulative and duplicative of that which

 Plaintiffs have already obtained from other Defendants.

        Plaintiffs admit that certain third parties have been monitoring Matthew’s online accounts

 for years, (see, e.g., Bloch Decl. ¶ 8(b)), which is confirmed by the multitude of screenshots and

 archived links of his social media posts which Plaintiffs have obtained with little effort. In fact,

 there are quite a few of these types of stalkers, both paid and volunteer, who keep extensive files

 on pro-White advocates such as Matthew, and who would never miss documenting any of his

 posts that could even potentially be weaponized against him. This reality, which Plaintiffs’


                                                  -7-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 8 of 19 Pageid#:
                                  17590



 counsel attempts to minimize and fails to fully impart to the Court (perhaps because of how

 obviously creepy and obsessive it is), fundamentally belies their claim that such missing ESI

 would have been helpful to their case. If Matthew posted something on social media, and it

 would have been even slightly helpful to Plaintiffs’ case, it would undoubtedly have been

 screenshotted and/or archived by the “Nazarazzi,” and Plaintiffs’ counsel would have found it

 easily.

           B.     Gab

           Plaintiffs argue Matthew used Gab to create “highly relevant” ESI, (Pl. Supp. Mem. at 4),

 such as a photo of himself and other TradWorker members at Charlottesville. This is simply not

 “highly relevant.” It is undisputed that Matthew was present in Charlottesville. With thousands

 of photos and hundreds of hours of video from the event already available to Plaintiffs’ counsel,

 it is extremely unlikely that additional photos exist which would be uniquely relevant and not

 duplicative or needlessly cumulative. Again, that Matthew and members of TradWorker attended

 the Unite the Right rally is not in dispute; therefore, the claim that there might have been more

 photos fails to demonstrate legitimate prejudice to Plaintiffs.

           There is also a recurring theme in which Plaintiffs suggest they need to see what replies

 and “likes” were present on posts;5 this again rings hollow as to the question of legitimate

 prejudice to Plaintiffs. Unless there was something so comically fantastical such as, “Please like




 5       See, e.g., Pl. Supp. Mem. at 4 (“Further, these third-party screenshots do not provide all
 data and metadata from Heimbach’s underlying post; for example, they often do not show the
 date of the post, which users liked or replied to the post, or any replies Heimbach posted in
 response.”)


                                                  -8-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 9 of 19 Pageid#:
                                  17591



 this photo if you are already a part of, or wish to be included in, a civil conspiracy,” the notion

 that “likes” are relevant and needed by plaintiffs to argue their case is dubious at best.

        Plaintiffs also claim that they “could not recover [c]ontent from [Matthew’s] Gab account

 that was never accessible to the public, such as direct messages.” In mid-2017, both before and

 for at least several months after the Unite the Right rally, Gab’s primitive direct message system

 — aside from being essentially unusable due to bugs and other technical problems — had a built-

 in feature (which could not be turned off) that all direct messages were automatically deleted

 from the chat, and from Gab’s servers, 24 hours after being sent. Accordingly, not only would

 such messages be inaccessible by Matthew and Gab after 24 hours, they also would have been

 automatically deleted by Gab long before Matthew was under any duty to preserve them.

        C.      VK

        Plaintiffs do not assert that Matthew’s VK account contained anything that could possibly

 be considered legally significant. Rather, they believe only that he posted on one occasion about

 (public) “legal filings” made by another defendant in the case. (See Pl. Supp. Mem. at 4.)


 (Heimbach Dep. 114:23-116:14; see also id. 112:23-24 (stating the VK account “was very rarely

 used”).)

        D.      Facebook

        Facebook banned Matthew’s accounts on several occasions. Preservation of data for

 accounts banned by major social media platforms such as Facebook is virtually impossible, and

 is unreasonable to expect of any user when the actions of a third-party (i.e., the platform’s

 employees) permanently takes the account out of the user’s possession, custody, or control.

 Being banned from these major platforms, including Facebook, always comes with no prior


                                                  -9-
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 10 of 19 Pageid#:
                                  17592




 notice, any appeals process is seldom helpful, and all account information is deleted, thereby

 leaving the user with no access to the data or any way to remedy the issue.




                                               - 10 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 11 of 19 Pageid#:
                                  17593



        E.      Twitter

        As with Facebook, when a user is banned from Twitter, their information is deleted, their

 access is revoked, and there is no way to obtain their account data.6 In these circumstances, to

 impose a duty of preserving an account for impending litigation would be to require the user to

 somehow prevent the platform from banning them, which is obviously not possible.7

        This unfortunate reality appears to have led to a rather oppressive situation in which the

 accounts and discourse of right-wing figures are involuntarily deleted by these platforms

 (frequently at the request, both explicit as well as implicit, of pro-censorship behemoths such as

 the Anti-Defamation League (“ADL”) and the Southern Poverty Law Center (“SPLC”)8), then

 that very same censorship is being perversely leveraged to seek an adverse inference in favor of

 Plaintiffs — whose entire claim is predicated on opposing the very same right-wing discourse

 and figures. In other words, the politically powerless Defendants, first censored by multibillion-

 dollar corporations that share the (institutionally dominant) political views of Plaintiffs and their

 counsel, then get punished by well-funded litigation for not having the ability to prevent



 6       Even though a “permanently suspended” (i.e., banned) Twitter user can still log in to their
 account, they are not permitted to utilize any data preservation/retrieval mechanisms the platform
 provides to active users. Moreover, frequently such accounts will simultaneously be “locked” by
 Twitter, requiring an SMS verification on a phone number to which the user no longer has access
 in order to even log in to the account.
 7       Indeed, one of the many dangers and evils of censorship, whether by government or
 private social media platforms, is that it corrupts the public record, and this is merely one way in
 which that corruption manifests. For this reason alone, involuntary “memory holing” of user
 accounts and data by any major social media platform ought to be unlawful, at least without a
 prior court order.
 8       The ADL and SPLC, as well as organizations affiliated with them, are widely known to
 work directly with these platforms in order to “flag” content and accounts for censorship, and
 every single one of these organizations shares the political views of Plaintiffs and their counsel.


                                                 - 11 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 12 of 19 Pageid#:
                                  17594



 themselves from being censored by those with different ideological views. Plaintiffs seek to

 manipulate the Court into participating in this scheme; it should decline the invitation.

         F.     Discord

         Plaintiffs acknowledge that “[Matthew] . . . submitted an accurate SCA consent form to

 Discord, which allowed Plaintiffs to recover relevant content he generated on Discord.” (Pl.

 Supp. Mem. at 6 n.3; see also id. at 2 n.1 (stating that “[Matthew] . . . provided an SCA consent

 to his Discord account”).)

         G.     Google Drive/Gmail, Skype, and Signal

         Plaintiffs acknowledge that Matthew provided access to his Google account (which

 contained his writings and e-mails),9 his Skype account, and his Signal account. (Pl. Supp. Mem.

 at 2 n.1.)

         H.     Daily Stormer, Iron March, and Occidental Dissent

         First off, the Daily Stormer (“DS”) lost Matthew’s data, not Matthew — who had no

 prior notice of this, and no reason to believe that DS would suddenly lose all of their forums and

 comments sections. Due to the aforementioned, relentless censorship efforts of left-wing pro-

 censorship organizations like the ADL and SPLC, DS was forced to move domains and hosting

 providers on numerous occasions in a short window of time; amidst all of this chaos, their

 forums and comment sections were eventually lost. At no point in time did Plaintiffs or their

 counsel register any concerns about these highly publicized censorship efforts potentially leading

 to the loss of ESI relevant to their case. Nor did they ask this Court to intervene by, for example,


 9      Access to Matthew’s YouTube account was provided when he provided his Google
 account information to Plaintiffs, as YouTube is owned by Google and the login credentials for
 both are identical.


                                                - 12 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 13 of 19 Pageid#:
                                  17595



 issuing injunctions against those participating in these censorship efforts, in order to ensure the

 preservation of relevant ESI for purposes of this litigation.

         Contrary to Plaintiffs’ arguments, Matthew did meet his obligation to preserve this

 information — because he did not delete it or seek its deletion. Rather, officious intermeddlers

 sharing the very same political views and objectives of Plaintiffs and their counsel (i.e., “fighting

 the Nazis,” or whatever delusional phraseology du jour they are using) got it deleted. Plaintiffs

 and their counsel no doubt celebrated the successful censorship of DS from the clearweb, which

 was unprecedented in its extent. They should not be rewarded with adverse inferences as a result

 of the (eminently predictable) consequences brought about by the actions of persons and entities

 who were directly, openly, and unapologetically interfering with the preservation of ESI in this

 litigation. Nor is it reasonable to blame Matthew for such actions.

         Plaintiffs recovered 15 posts, July 2016 and February 2018, on Matthew’s DS account.

 (Bloch Decl. ¶ 8(c).) However, they did not find anything Matthew may have “liked”, “some

 embedded data from threads [Matthew] participated in was also lost,” how long the account had

 existed, how many posts he wrote, “how many likes he received,” and how many days he visited

 the site. (See id.)

         Plaintiffs are arguing that because an account existed which was not fully discoverable as

 to details such as number of “likes” received, an adverse inference must be warranted. Even if

 Plaintiffs did know the length of time Matthew had an account with Daily Stormer or however

 many people viewed or liked his posts, that doesn’t materially assist in proving a single one of

 Plaintiffs’ allegations.




                                                 - 13 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 14 of 19 Pageid#:
                                  17596



        The Iron March forum and website were shut down by the creator. (See Heimbach Dep.

 171:2-9.) Again, this is something entirely outside Matthew’s control. Plaintiffs are obviously

 making extensively sweeping requests for every online account Matthew had, then asserting it is

 all somehow relevant to prove their conspiracy theory.

        Matthew’s deposition testimony makes it clear an account was created for him on

 Occidental Dissent. (See Heimbach Dep. 302:23-303:7.) Plaintiffs do not even make any claims

 as to the possible relevance of this account or its relation to the case. It is yet another example of

 Plaintiffs’ asking for information they do not even assert is relevant in any way, then asking for

 an adverse inference if it is unable to be produced.

        Plaintiffs were awfully adamant in their Supplemental Memorandum that these discovery

 deficiencies were totally egregious, and how this was about missing “critical” ESI. Yet, with

 these accounts, we see Plaintiffs just requesting a large number of online profiles from Matthew

 — some of which are entirely out of his control to recover or even preserve in any way outside

 of With these three accounts, we see plaintiffs requesting a large number of online profiles from

 Matthew, some of which are entirely out of his control to recover or even preserve in any way

 outside of perhaps taking screenshots of each post, in order to try to bootstrap a conspiracy that

 never existed. (Pro-White groups are not a monolith.) Granting an adverse inference would allow

 wild speculation as to what the accounts contained, and that would be unjust.10

        I.      Therightstuff.biz

        Matthew’s forum account on therightstuff.biz was deleted by the owners of the website.

 Matthew did not recall any of his posts on the forum to be relevant to the case. (See Heimbach


 10     Plaintiffs’ counsel


                                                 - 14 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 15 of 19 Pageid#:
                                  17597



 Dep. 161:14-168:6.) When a litigant does not recall a forum account as even being relevant, it

 would be an odd thing to punish him with sanctions for not preserving the account before it was

 deleted, by the site owner, in a manner totally out of his control.

        J.        TWP email and ticket system

        Matthew explained in his deposition testimony that David Matthew Parrott (“David

 Matthew”) maintained the TradWorker e-mail and ticket system, and Matthew believed that

 David Matthew had provided relevant discovery regarding the email and ticketing system.

 Further, Matthew explained he did not have the information and did not know how to obtain it,

 but was again of the belief it was already provided by David Matthew. (See Heimbach Dep.

 260:6-261:21.)

        K.        GoyFundMe and Hatreon

        Both of these fundraising platforms were shut down due to their credit card processing

 ability being ended (once again, by multibillion-dollar corporations that share the same political

 views as Plaintiffs and their counsel). (See Heimbach Dep. 176:15-176:23.)

        L.        PayPal

        Again, Matthew’s account was deleted without his prior notice or consent, and is beyond

 his control. PayPal deleted it. (See Heimbach Dep. 172:23-24.) And if the account had not been

 deleted, what might the plaintiffs expect to find here? Heimbach’s deposition questions suggest

 that the “note” you can attach to payments might be evidence of Plaintiffs’ conspiracy theory.

 But how would that look, exactly? Payments of different small amounts back and forth between

 Defendants, perhaps, as a kind of secret code? Hatching secret plans via the PayPal memo

 system?



                                                 - 15 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 16 of 19 Pageid#:
                                  17598



        M.      One ASUS Laptop

        Matthew stated the documents created using that laptop were writings and emails that

 were in a Google Drive and on a Gmail account, to which Matthew provided access for the

 plaintiff’s counsel. (See Heimbach Dep. 207:6-16.) With this in mind, knowing potentially

 relevant documents related to this case were housed within Google’s cloud services, it does not

 follow that the physical laptop itself would be particularly useful as a source of relevant,

 probative evidence.

        N.      Three cell phones

                • Android phone

                • Blackview BV 800 Pro

                • Phone too new to possibly have anything relevant

        Plaintiffs seem to make a big deal about “three phones” being used by Matthew. He never

 had more than one functioning phone in use at any given time. The third phone was provided in

 discovery, but had nothing relevant on the device. The second phone, the Blackview BV 800 Pro,

 was used by Matthew only months after the Unite the Right rally.

        Regarding the Android, plaintiffs claim they did manage to recover text messages from

 other co-Defendants in the case. Any messages that were on the lost Android could have been

 found on phones of other Defendants. Plaintiffs specifically complain about two outgoing text

 messages from Michael Tubbs to Matthew sent on August 29, 2017 — over two weeks after the

 Unite the Right rally. This is really not the kind of thing adverse inferences are made of.




                                                - 16 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 17 of 19 Pageid#:
                                  17599



        O.      Relevant Hard Copy Documents

        Plaintiffs claim Matthew had “important hard copy documents,” like letters to individuals

 in prison including Jacob Goodwin, Alex Ramos, and Daniel Borden. (Pl. Supp. Mem. at 4.)

 Letters that are sent to and from correctional institutions are frequently scanned and archived by

 the facility, and non-legal mail is opened and read by prison staff first. These were obviously

 “pen pal” letters (“Keep your head up,” “Stay strong,” etc.). Do Plaintiffs seriously contend that

 these letters would contain some kind of smoking gun, such as Matthew gleefully reminiscing

 about the alleged conspiracy? Plaintiffs paint a very odd and contradictory picture of Matthew, in

 which he is both a conspiratorial mastermind, and a bumbling fool who would make damning

 admissions in letters to prison inmates for which he knew his letter would be read by authorities.

 Certainly, both cannot be true.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs’ request for adverse inferences against Matthew

 should be denied.


                                                         Respectfully submitted,




                                                         /s/ Joshua Smith
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                                                - 17 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 18 of 19 Pageid#:
                                  17600



                                             Counsel for Defendants David Matthew
                                             Parrott, Matthew Heimbach, and
                                             Traditionalist Worker Party

 Dated: September 9, 2021




                                    - 18 -
Case 3:17-cv-00072-NKM-JCH Document 1054 Filed 09/09/21 Page 19 of 19 Pageid#:
                                  17601



                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 9, 2021, I filed the foregoing with the Clerk of Court

 through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

 in the case, as well as all ECF-registered pro se parties.

        I hereby further certify that on September 9, 2021, I served a copy of the foregoing on the

 following non-ECF pro se parties, via electronic mail, as follows:

 Richard Spencer                                      Robert “Azzmador” Ray
 richardbspencer@icloud.com                           azzmador@gmail.com
 richardbspencer@gmail.com
                                                      Elliott Kline a/k/a Eli Mosley
 Vanguard America                                     eli.f.mosley@gmail.com
 c/o Dillon Hopper                                    deplorabletruth@gmail.com
 dillon_hopper@protonmail.com                         eli.r.kline@gmail.com

        I hereby further certify that on September 9, 2021, I served a copy of the foregoing on the

 following non-ECF pro se party, via first-class mail, as follows:

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                                                 - 19 -
